      Case 2:19-cv-02523-JAR-ADM Document 54 Filed 06/09/21 Page 1 of 3




                              IN THE UNITED STATES DISTRICT
                                COURT DISTRICT OF KANSAS

 TERESA WISNESKI and MILDRED                  )
 JONES, Each Individually and on              )
 Behalf of All Other Similarly Situated,      )
                                              )
                Plaintiffs                    )
                                              )      Case No. 2:19-cv-2523-JAR
        v.                                    )
                                              )
 BELMONT MANAGEMENT                           )
 COMPANY, INC.                                )
                                              )
                Defendant.                    )


                             JOINT NOTICE OF FINAL PAYMENT

       COME NOW Plaintiffs Teresa Wisneski and Mildred Jones, individually and on behalf of

all others similarly situated, and Defendant Belmont Management Company, Inc., by and through

their undersigned counsel, and for their Joint Notice of Final Payment, they do hereby state and

allege as follows:

       1.      Payment to Plaintiffs and Plaintiffs’ Counsel, as contemplated under the Parties’

Settlement Agreement, was timely made in full on June 7, 2021.

       2.      Payments to the class members have been made to and since distributed by

Plaintiffs’ Counsel.

       3.      The parties respectfully request that this case be dismissed with prejudice now that

final payment has been made.
Case 2:19-cv-02523-JAR-ADM Document 54 Filed 06/09/21 Page 2 of 3




                                    Respectfully submitted,

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                                    Counsel for Plaintiffs




                                2
      Case 2:19-cv-02523-JAR-ADM Document 54 Filed 06/09/21 Page 3 of 3




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                                                     Counsel for Defendant



                                CERTIFICATE OF SERVICE

        I hereby certify that on this 9th day of June 2021, the foregoing was filed via the Court’s
electronic filing system which will send notice to all counsel of record.

                                                     /s/ Eric L. Dirks
                                                     Eric L. Dirks




                                                3
